 

 

Case 1:09-cv-00022 Document 91 Filed in TXSD on 09/10/18 Page 1 of 4

IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

United States Courts

 

 

 

Southern District of Texas ,
HLED 1.09-Cv-22
September l 0, 2018
NO. 18-70028
David .|. Brad|ey, C|erk of Court
A True Copy
RUBEN GUTIERREZ’ Certified order issued Sep 10, 2018
Petitioner - Appellee dy( w . 0 CJ.
Clerk, .S. Court of peals, Fifth Circuit

V.

LORIE DAVIS, DIRECTOR, TEXAS DEPARTMENT OF CRIMINAL
JUSTICE, CORRECTIONAL INSTITUTIONS DIVISION,

Respondent - Appellant

 

Appeal from the United States District Court
for the Southern District of Texas

 

Before SOUTHWICK, HAYNES, and HIGGINSON, Circuit Judges.

PER CURIAM:

The State of Texas has moved to vacate the district court’s stay of
execution of Ruben Gutierrez. Nery appointed counsel for Gutierrez responds
that a stay is necessary so that counsel Will have time to determine if there is
any basis for a successive application for habeas corpus relief and to pursue
clemency and a civil suit under 42 U.S.C. § 1983.

We agree With Texas that there is a serious question of Whether it Was
proper to grant a stay under 28 U.S.C. § 2251(a)(1) When there Was no pending

habeas proceeding The doubt arises because of a 2006 amendment to the

 

Case 1:09-cv-00022 Document 91 Filed in TXSD on 09/10/18 Page 2 of 4

statute to add what is now Section 2251(a)(2). lt states a “habeas corpus
proceeding is not pending until the application is filed.” According to a
congressional conference report, Section 2251(a)(2)

clarifies when a habeas proceeding is ‘pending’ for purposes of 28
U.S.C. 2251 . . . Overruling McFarland v. Scott, 512 U.S. 849
(1994) . . . this [amendment] provides that a habeas proceeding is
not ‘pending’ until the habeas application itself is filed. For
prisoners who have applied for counsel pursuant to 18 U.S.C.
3599(a)(2), there is a limited exception allowing the court to stay
execution of a death sentence until after the attorney has been
appointed or the application Withdrawn or denied.

H.R. REP. No. 109-333, at 109-10 (2005).

Despite the Congressional purpose to alter the effect of McFarland, this
Circuit has yet to address the effect of the revision. The district court did not
discuss Section 2251(a)(2), largely we expect because the parties did not do so.

Regardless of our doubts about issuance of a stay of execution under
Section 2251(a)(1) when there is no pending habeas application in the issuing
court, the district court clearly had authority to enter a stay under Section
2251(a)(3), also added in 2006. If counsel is appointed, the stay can last for no
longer than 90 days from the date of the appointment § 2251(a)(3). Though
the district court did not rely on that section, we conclude the stay is not invalid
for failure to identify a clear source of authority for its issuance

We next consider whether the district court abused its discretion in
exercising this authority. lt is significant that Section 2251(a)(3) combines the
authority for granting a time-limited stay with a prisoner’s right to apply for
appointment of counsel under 18 U.S.C. § 3599(a)(2). lf a court exercises its
discretion to grant a stay at the time of appointing counsel, a 90-day stay serves
the purpose of allowing counsel time to determine if an application for habeas
corpus relief is appropriate. We conclude the district court did not abuse its

discretion in this case.

 

 

Case 1:09-cv-00022 Document 91 Filed in TXSD on O9/10/18 Page 3 of 4

We construe the stay as having been issued under Section 2251(a)(3). lt
is effective for no longer than 90 days from the date of appointment of the

initial new counsel.

The motion to vacate the stay is DENIED.

 

 

Case 1:09-cv-00022 Document 91 Filed in TXSD on O9/10/18 Page 4 of 4

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF 'I`HE CLERK

LYLE W. CAYCE 'I`EL. 504-310-7700
CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

September 10, 2018
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:

No. 18-70028 Ruben Gutierrez v. Lorie Davis, Director
USDC No. 1:09-CV-22

Enclosed is an order entered in this case.

Sincerely,

LYLE W. CAYCE, Clerk

%\{MW@€/[/m vij%‘~)

Monica R. Washlngton, Deputy Clerk
504- 310- 7705

 

Mr. David J. Bradley

Mr. Jefferson David Clendenin
Mr. Richard W. Rogers 111

Mr. Peter James Walker

